                Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 1 of 6



 1                                                                   The Honorable Ricardo S. Martinez
 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     EDGE, et al.,                                      Case No. 2:17-cv-01361-RSM
10
                 Plaintiff,                             JOINT STIPULATION AND ORDER
11                                                      REGARDING CASE SCHEDULE
           v.
12

13   CITY OF EVERETT,

14               Defendant.

15

16         Plaintiffs Jovanna Edge, Leah Humphrey, Liberty Ziska, Amelia Powell, Natalie Bjerke,

17   and Matteson Hernandez (collectively, “Plaintiffs”) and Defendant City of Everett (the “City”)

18   (together, the “Parties”) hereby stipulate and move the Court as follows:

19         On January 11, 2018, the Parties jointly requested that this lawsuit be stayed, including all

20   proceedings, applicable discovery and other deadlines, and the trial date, until resolution of the

21   City’s preliminary injunction appeal or upon earlier motion by either Party to re-commence the

22   lawsuit. (Dkt. No. 61.)

23         On January 16, 2018, the Court granted the Parties’ request and stayed this lawsuit until

24   resolution of the City’s preliminary injunction appeal, and ordered the Parties submit a joint

25   status report to the Court following a final determination by the Ninth Circuit in the City’s

26   preliminary injunction appeal. (Dkt. No. 64.)

27         On July 3, 2019, the Ninth Circuit issued its order granting the City’s appeal and reversing

28   and remanding this lawsuit back to this Court. (Dkt. No. 65.)
     JOINT STIPULATION AND ORDER                                             2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —1                      Newman Du Wors LLP        Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                                   (206) 274-2800
                Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 2 of 6



 1          On March 12, 2020, the Ninth Circuit issued its final mandate. (No. 17-36038, Dkt. No.

 2   73.)

 3          Following remand, the Parties have engaged in good-faith negotiations regarding the most

 4   efficient way to move this case forward in light of the constraints presented by the ongoing

 5   COVID-19 pandemic and the evidence gathered and presented by both sides in connection with

 6   the 2017 preliminary injunction motions practice.

 7          Therefore, the Parties, through their respective counsel, of record, stipulate and agree as

 8   follows:

 9          The Parties propose the following case schedule:

10          On or before October 20, 2020, Plaintiffs will produce their expert reports and all

11   supporting materials relied on by the experts other than those documents previously produced, in

12   the public record, in the control of the opposing party, or as easily accessible to the opposing

13   party as to Plaintiffs and the experts. Plaintiffs shall make any experts they disclose available for

14   deposition at mutually convenient times sufficiently in advance of the City’s deadline for expert

15   reports, with the understanding that these depositions will likely be conducted remotely unless

16   public health conditions improve enough to allow otherwise.

17          On or before December 21, 2020, the City will produce its expert reports (including any

18   rebuttal or reply to Plaintiffs’ expert reports) and all supporting materials relied on by the experts

19   other than those documents previously produced, in the public record, in the control of the

20   opposing party, or as easily accessible to the opposing party as to Plaintiffs and the experts. To

21   the extent the City designates any experts, it shall make them available for deposition at mutually

22   convenient times sufficiently in advance of Plaintiffs deadline for rebuttal reports or filing of

23   dispositive motions, with the understanding that these depositions will likely be conducted

24   remotely unless public health conditions improve enough to allow otherwise.

25          On or before January 22, 2021, Plaintiffs will produce any expert reports they intend to

26   rely on in rebuttal to any of the City’s expert reports (aside from rebuttal reports, to which no

27   further reply is permitted) and all supporting materials relied on by the experts other than those

28
     JOINT STIPULATION AND ORDER                                              2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —2                       Newman Du Wors LLP        Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                                    (206) 274-2800
               Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 3 of 6



 1   documents previously produced, in the public record, in the control of the opposing party, or as

 2   easily accessible to the opposing party as to Plaintiffs and the experts.

 3         Plaintiffs agree that they will, in filing and defending dispositive motions, rely solely on

 4   the factual record already presented to the Court during the preliminary injunction proceedings,

 5   with the exception of expert witness testimony and supporting materials (i.e., studies and already

 6   of record evidence upon which the experts may rely). The City, in turn, agrees to rely on the

 7   factual record already presented to the Court during the preliminary injunction proceedings, with

 8   the exception of additional factual testimony or records responsive to any new issues raised by

 9   Plaintiffs or Plaintiffs’ experts, or any expert designations of its own as contemplated above.

10         Upon that basis, the Parties agree that other than the discovery already completed, the

11   expert discovery contemplated above, and any supplemental fact discovery reasonably

12   responsive to the above expert designations and supporting materials, they will not seek further

13   discovery of the other absent mutual assent or leave of the Court.

14         On or before February 18, 2021 the Parties will file their respective motions for summary

15   judgment (if any), noted for hearing on March 12, 2021, with response and reply briefs to be due

16   pursuant to the federal civil rules and local rules of this Court.

17         If any issues remain to be tried following summary judgment, the Parties will meet and

18   confer with each other and propose a pre-trial and trial schedule to the Court at that time.

19         SO STIPULATED.

20

21

22

23

24

25

26

27

28
     JOINT STIPULATION AND ORDER                                                 2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —3                       Newman Du Wors LLP           Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                                       (206) 274-2800
              Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 4 of 6



 1   Respectfully submitted, October 20, 2020.

 2    NEWMAN DU WORS LLP                            PACIFICA LAW GROUP LLP

 3

 4    s/ Jason B. Sykes                             s/ Matthew J. Segal
      Derek A. Newman, WSBA #26967                  Matthew J. Segal, WSBA #29797
 5
      derek@newmanlaw.com                           Matthew.Segal@pacificalawgroup.com
 6    Jason B. Sykes, WSBA #44369                   Jamie L. Lisagor, WSBA #39946
      jason@newmanlaw.com                           jamie.lisagor@pacificalawgroup.com
 7    Rachel J. Horvitz, WSBA #52987                Sarah C. Johnson. WSBA #34529
      rachel@newmanlaw.com                          sarah.johnson@pacificlawgroup.com
 8                                                  Sarah S. Washburn, WSBA #44418
 9    Attorneys for Plaintiffs                      sarah.washburn@pacificlawgroup.com

10                                                  CITY OF EVERETT

11
                                                    S/ RamseyRamerman
12
                                                    Ramsey Ramerman, WSBA #30423
13                                                  RRamerman@everettwa.gov

14                                                  Attorneys for Defendant
15

16

17

18

19

20

21

22

23

24

25

26

27

28
     JOINT STIPULATION AND ORDER                                      2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —4                  Newman Du Wors LLP     Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                            (206) 274-2800
                Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 5 of 6



 1                                                  ORDER

 2         This matter having come before the Court on the above Joint Stipulation Regarding Case

 3   Schedule, the Court HEREBY ORDERS THAT:

 4         On or before October 20, 2020, Plaintiffs will produce their expert reports and all

 5   supporting materials relied on by the experts other than those documents previously produced, in

 6   the public record, in the control of the opposing party, or as easily accessible to the opposing

 7   party as to Plaintiffs and the experts. Plaintiffs shall make any experts they disclose available for

 8   deposition at mutually convenient times sufficiently in advance of the City’s deadline for expert

 9   reports, with the understanding that these depositions will likely be conducted remotely unless

10   public health conditions improve enough to allow otherwise.

11         On or before December 21, 2020, the City will produce its expert reports (including any

12   rebuttal or reply to Plaintiffs’ expert reports) and all supporting materials relied on by the experts

13   other than those documents previously produced, in the public record, in the control of the

14   opposing party, or as easily accessible to the opposing party as to Plaintiffs and the experts. To

15   the extent the City designates any experts, it shall make them available for deposition at mutually

16   convenient times sufficiently in advance of Plaintiffs deadline for rebuttal reports or filing of

17   dispositive motions, with the understanding that these depositions will likely be conducted

18   remotely unless public health conditions improve enough to allow otherwise.

19         On or before January 22, 2021, Plaintiffs will produce any expert reports they intend to

20   rely on in rebuttal or reply to the City’s expert reports and all supporting materials relied on by

21   the experts other than those documents previously produced, in the public record, in the control

22   of the opposing party, or as easily accessible to the opposing party as to Plaintiffs and the

23   experts.

24         Other than the discovery already completed, the expert discovery set forth above, and any

25   supplemental fact discovery reasonably responsive to the above expert designations and

26   supporting materials, the Parties are prohibited from taking any further discovery of the other

27   absent mutual assent or leave of the Court.

28
     JOINT STIPULATION AND ORDER                                              2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —5                       Newman Du Wors LLP        Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                                    (206) 274-2800
              Case 2:17-cv-01361-RSM Document 73 Filed 10/20/20 Page 6 of 6



 1         The Court sets a dispositive motion noting date of March 12, 2021 consistent with this

 2   stipulation and order.

 3         If any issues remain to be tried following the Court’s resolution of summary-judgment

 4   motions, the Parties will meet and confer with each other and propose a pre-trial and trial

 5   schedule to the Court at that time.

 6

 7         IT IS SO ORDERED.

 8         Dated this 20th day of October, 2020.

 9

10

11                                                 A
                                                   RICARDO S. MARTINEZ
12                                                 CHIEF UNITED STATES DISTRICT JUDGE

13
     Presented by:
14
      NEWMAN DU WORS LLP                                PACIFICA LAW GROUP LLP
15

16
      s/ Jason B. Sykes                                 s/ Matthew J. Segal
17    Derek A. Newman, WSBA #26967                      Matthew J. Segal, WSBA #29797
      derek@newmanlaw.com                               Matthew.Segal@pacificalawgroup.com
18
      Jason B. Sykes, WSBA #44369                       Jamie L. Lisagor, WSBA #39946
19    jason@newmanlaw.com                               jamie.lisagor@pacificalawgroup.com
      Rachel J. Horvitz, WSBA #52987                    Sarah C. Johnson. WSBA #34529
20    rachel@newmanlaw.com                              sarah.johnson@pacificlawgroup.com
                                                        Sarah S. Washburn, WSBA #44418
21    Attorneys for Plaintiffs                          sarah.washburn@pacificlawgroup.com
22
                                                        CITY OF EVERETT
23

24                                                      S/ RamseyRamerman
25                                                      Ramsey Ramerman, WSBA #30423
                                                        RRamerman@everettwa.gov
26
                                                        Attorneys for Defendant
27

28
     JOINT STIPULATION AND ORDER                                            2101 Fourth Avenue, Suite 1500
     REGARDING CASE SCHEDULE —6                     Newman Du Wors LLP        Seattle, Washington 98121
     [Case No.: 2:17-CV-01361-RSM]                                                  (206) 274-2800
